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             EXHIBIT D
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                                             MEMORANDUM                                APR 10 2017
                                                                                      COUNTY CLERK
         SUPREME COURT : QUEENS COUNTY                                               QUEENS COUNTY
         IA PART
                                          X
         MEHDI MOSLEM A/K/A MICHAEL MOSLEM
         AND ACCEL MOTORS, INC.,           INDEX NO. 705768 2016

                                      Plaintiffs,
                                                                  MOTION SEQ. NO. 1
                       - against -
                                                                  BY: BUGGS, J.
         DANTE DEMARTINO, DREW SMITH AND
         JOHN DOE A CO-CONSPIRATOR YET                             DATED: April 3,2017
         TO BE IDENTIFIED,

                                      Defendants.
                                                              X


                       In this action to recover damages for fraud, breach of fiduciary duty and for

         declaratory judgment, plaintiffs seek an order canceling the notice of pendency filed by

         defendant Drew Smith against the real property known as 30-15 Thompson Avenue, Long

         Island City, New York, also known as 30-24 Skillman Avenue, Long Island City, New York,

         Block 0275, Lot 35. Defendants cross moves for an order enjoining plaintiffs from (I)

         withdrawing, pledging, conveying, dissipating, removing, paying, assigning, borrowing,

         loaning, pledging, hypothecating, or otherwise transferring or using without the consent of

         the other parties in writing, or by order of the court, any real or personal property owned or

         controlled by the Accel Motors Inc. (Accel) other than in the ordinary course of business; (2)




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          transferring, encumbering, assigning, removing, pledging, mortgaging or otherwise impairing

         (i) Accel's fee interest in the land and improvements thereon known as 30-15 Thompson

         Avenue, Long Island City, New York 11101, Tax Block 275, Tax Lot 35, or (ii) any fee

          interest owned or controlled by either of the plaintiffs in the land and improvements thereon

          known as 1114 Fulton Street, Brooklyn, New York 11238, Tax Block 2016, Tax Lot 35; and

         (c) altering, concealing, relocating, destroying or otherwise impairing any books and records

         of Accel or any company having an interest in the Fulton Street property.

                        A notice of pendency may be filed only when "the judgment demanded would

         affect the title to, or the possession, use or enjoyment of, real property" (CPLR 6501; see

         Ewart v Ewart, [2d Dept 20101; see also Delidimitropoulos v Karantinidis, 142 AD3d 1038,

         1039 [2nd Dept 2016]). " 'When the court entertains a motion to cancel a notice of pendency

         in its inherent power to analyze whether the pleading complies with CPLR 6501, it neither

         assesses the likelihood of success on the merits nor considers material beyond the pleading

         itself; the court's analysis is to be limited to the pleading's face' (Nastasi v Nastasi, 26

         AD3d 32, 36 [2d Dept 2005], quoting 5303 Realty Corp. v 0 & Y Equity Corp., 64 NY2d

         313, 321 [1984]; see Delidimitropoulos v Karantinidis, 142 AD3d at 1039; Ewart v Ewart,

         78 AD3d at 992-993).

                       Here, on its face, the complaint does not seek relief that would affect the title

         to, or the possession, use or enjoyment of, real property. Plaintiff Moslem alleges that he has

         a 100 percent ownership interest in co-plaintiff Accel Motor Inc., the entity that is alleged




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          to own the real property known as 30-15 Thompson Avenue, Long Island City, New York,

          also known as 30-24 Skillman Avenue, Long Island City, New York, Block 0275, Lot 35,

         and listed in the notice of pendency filed by defendant Drew Smith.

                       Plaintiffs' first cause of action for fraud pertains to an alleged transfer of

         DeMartino's shares in Accel on January 25, 2008 to defendant Smith; the second cause of

         action alleges a breach of fiduciary duty; and the third cause of action for declaratory

         judgment seeks a declaration to the effect that plaintiff Moslem is the sole shareholder and

         owner of Accel.

                       In addition, defendants' respective counterclaims, on their face, do not seek

         relief that would affect the title to, or the possession, use or enjoyment of, real property.

         Defendant Smith's first counterclaim seeks a declaration to the effect that the DeMartino's

         transfer of his shares in Accel was lawful and binding and that Smith has a 50% interest in

         Accel; the second counterclaim against Moslem is for breach of fiduciary duty; the third

         counterclaim against Accel is for an accounting; the fourth counterclaim against Moslem is

         for conversion; the fifth counterclaim against Moslem is for fraud; and the sixth counterclaim

         against Moslem is unjust enrichment.

                       Defendant DeMartino's first counterclaim seeks a declaration to the effect that

         the transfer of 50% ownership in Accel to defendant Smith is lawful and binding and that

         Smith owns a 50% interest in Accel and the Thompson Street property, and in the alternative

         if the transfer was ineffective to declare that DeMartino owns a 50% interest in Accel and



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          the Thompson Street property; and further seeks a declaration DeMartino owns a 50%

          interest in Fulton Street 11114 Inc. (Fulton Inc.) and the real property located at 1114 Fulton

          Street, Brooklyn New York; DeMartino's second counterclaim against Moslem is for breach

          of oral shareholder agreements pertaining to Accel and Fulton Inc; the third counterclaim

          against Moslem is for breach of fiduciary duties; the fourth counterclaim against Moslem

          is for an accounting; the fifth counterclaim against Moslem is for conversion; the sixth

          counterclaim against Moslem is for fraud; and the seventh counterclaim against Moslem is

          for unjust enrichment.

                        Plaintiffs' third claim for declaratory judgment, defendant Smith's first

         counterclaim for declaratory judgment and defendant DeMartino's first counterclaim for

         declaratory judgment relate to the parties' claimed ownership interest in corporate entities.

          To the extent that defendant DeMartino seeks a declaration with respect to the ownership of

         the real property itself, he alleges that the Thompson Street property was acquired and owned

          by Accel, and that the Fulton Street property was acquired and owned by Fulton Inc., and

         therefore does not allege that he individually has any ownership in said real properties.

         Defendant DeMartino does not allege that either corporate entity transferred its ownership

          interest in the respective properties to any of the individual parties named herein, or to any

         other individual. Therefore, his allegations are insufficient to allege a claim of an ownership

          interest in the real property itself (see 5303 Realty Corp. v 0 & Y Equity Corp., 64 NY2d

         at 322-323; Delidimitropoulos v Karantinidis, 142 AD3d at 1039; Sealy v Ciffion, LLC, 68


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          AD3d 846, 847 [2d Dept 2009]; Tiger Riverdale, Inc. v Tiger Dale, Inc., 47 AD3d 441, 441-

          442 [2d Dept 2009]). As such, neither plaintiffs' causes of action, nor defendants'

         counterclaims, support the filing of the notice of pendency.

                          The remaining causes of action and counterclaims only seek an accounting

         and damages, and not title to, or the possession, use, or enjoyment of, real property (see

         CPLR 6501; Delidimitropoulos v Karantinidis, 142 AD3d at 1039 DeCaro v East of E., LLC,

         95 AD3d 1163, 1164; Stangel v Zhi Dan Chen, 74 AD3d 1050, 1054 [2d Dept 2010]; Khanal

         v Sheldon, 55 AD3d 684, 686 [2d Dept 2008]). Therefore, plaintiffs' motion to cancel the

         notice of pendency filed against the Thompson Avenue property, is granted.

                       Plaintiffs in their reply papers state that Exhibit F of defendants' cross motion

         is an alleged notice of pendency against the real property located at 1114 Fulton Street,

         Brooklyn, New York 11238, Tax Block 2016, Tax Lot 35. It is asserted that prior to the

         service of defendants' cross motion, said notice of pendency was never served upon the

         plaintiffs or their counsel and that it was not electronically filed with this court. An

         examination of the court's e-file records establishes that the only notice of pendency filed in

         this action under the within index number pertains to the Thomson Street property located

         in Queens County. This court further notes that plaintiffs have not established that a notice

         of pendency was filed in Kings County with respect to the Fulton Street property. Therefore,

         plaintiffs' request to vacate the notice of pendency pertaining to the Fulton Street property

         located in Kings County is denied as moot, no such notice of pendency has been filed in this


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         action, under the within index number, pursuant to CPLR 6511.

                        Turning now to defendants' cross motion, in order to obtain relief pursuant to

         CPLR 6301, a movant must clearly demonstrate (1) a likelihood of success on the merits, (2)

          irreparable injury absent granting of the preliminary injunction, and (3) a balancing of the

         equities in the movant's favor ( Nobu Next Door, LLC v Fine Arts Pious., Inc., 4 NY3d 839,

         840 [2005]; Aetna Ins. Co. v Capasso, 75 NY2d 860[1990]; Doe v Axelrod, 73 NY2d

         748[1988] ; Ruiz v Meloney, 26 AD3d 485 [2d Dept 2006]; Stockley v Gorelik, 24 AD3d 535

         [2d Dept 2005 ]; Matos v City of New York, 21 AD3d 936 [2d Dept 2005 ]). The purpose of

         a preliminary injunction is to maintain the status quo and prevent the dissipation of property

         that could render a judgment ineffectual (Ruiz v Meloney, 26 AD3d 485, supra; Trump on

         the Ocean, LLC v Ash, 81 AD3d 713 [2nd Dept 2011]; Coinmach Corp. v Alley Pond

         Owners Corp., 25 AD3d 642, [2d Dept 2006]; Weinreb Management, LLC v KBD

         Management, Inc., 22 AD3d 571[2d Dept 2005]). The decision to grant or deny a

         preliminary injunction rests in the sound discretion of the Supreme Court (Doe v Axelrod,

         supra, at 750; Ruiz v Meloney, supra; Weinreb Management, LLC v KBD Management,

         supra).

                       Defendants DeMartino cross claims for breach of an oral shareholders

         agreement, breach of fiduciary duty, conversion, fraud, and unjust enrichment allege injuries

         that are economic in nature, and seeks to recover monetary damages. Defendant Smith's

         cross claims for breach of fiduciary duty, conversion, fraud and unjust enrichment allege



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         injuries that are economic in nature, and seeks to recover monetary damages. It is well

         settled that where" a litigant can fully be recompensed by a monetary award, a preliminary

         injunction will not issue" (Matter of Rice, 105 AD3d 962, 963[2d Dept 2013] quoting Dana

          Distribs., Inc. v Crown Imports, LLC, 48 AD3d 613, 613[ 2d Dept 20081; see also Matter of

          Armanida Realty Corp. v Town of Oyster Bay, 126 AD3d 894 [2d Dept 2015]). Therefore,

         injunctive relief is not available as to these cross claims. As regards DeMartino and Smith's

         respective cross claims for an accounting, injunctive relief is not warranted.

                       Defendants in their respective counterclaims for declaratory judgment assert

         that Mr. DeMartino's transfer of his shares in Accel to Mr. Smith was proper and valid, and

         that Smith is a 50% shareholder of Accel. With respect to this counterclaim defendants have

         submitted documentary evidence that demonstrates that, plaintiff Mehdi Moslem accepted

         and approved Dante DeMartino's resignation as an officer of Accel, the cancellation of

         DeMartino's stock certificate, and the transfer of DeMartino's shares to Drew Smith, as of

         January 25,2008. According to said documents, Mr. Smith become a vice president of Accel

         and retained 50% of the issued shares of Accel, and Mr. Moslem retained his 50% of his

         shares in Accel. Defendants have also submitted a copy of an Accel stock certificate for 51

         shares, bearing Mr. Smith's name. It is undisputed that Accel's sole asset is the Thompson

         Avenue property.

                       Although Mr. Moslem alleges that in 2004, Mr. DeMartino relinquished his

         shares in Accel in exchange for a collateral mortgage on the Thompson Avenue, and further



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         alleges that the January 25, 2008 documents were executed by Moslem and DeMartino on

         January 25, 2011, at the suggestion of an attorney who represented them, in order to defraud

         DeMartino's creditors, and that the unnamed John Doe defendant conspired with DeMartino

         and Smith to transfer the shares of DeMartino, these allegations are not supported by any

         documentary evidence.

                       Mr. DeMartino also seek a declaration that he is 50% owner of Fulton Street

         11114 Inc. (Fulton Street). It is undisputed that Fulton Street was formed in 2004, and is the

         owner of real property known as 1114 Fulton Street, Brooklyn, New York. Mr. DeMartino

         alleges that he and Mr. Moslem are presently 50-50 owners of Fulton Street, pursuant to an

         oral business agreement and an oral shareholders' agreement. Plaintiffs, in opposition to the

         cross motion, have submitted a copy of an "Acknowledgment" which states, in pertinent part,

         that as of March 1,2013 Mehdi Moslem, is the only shareholder of Fulton Street, the owner

         of the property known as 1114 Fulton Street, Brooklyn, New York. Said document further

         recites that "[n]either Susan Pourfar nor Mohamad Pourfar ever possessed an ownership

         interest in Fulton, nor were they ever shareholders in Fulton. While Mohamad Pourfar had

         previously lent certain monies to Mr. Moslem and Fulton, that debt obligation has been

         satisfied". Said document also states that "each party hereto has executed this Assignment

         or caused it be executed on its behalf of its duly authorized representative, the day and year

         first above written" and is executed by Mr. DeMartino and Mr. Moslem before a notary on

         May 13, 2013.



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                        The document proffered by plaintiff Moslem does not identify Mr. DeMartino

          as a representative of the Pourfars, and its use of the terms acknowledgment and assignment

          are not explained. Therefore, while said document provides support for plaintiffs' claim that

         Mr. Moslem was the sole owner of Fulton Street as of March 2013, it is insufficient to

         establish that Mr. DeMartino was not a 50% shareholder of Fulton at the time the within

         action was commenced.

                        It is undisputed that on February 9,2015, Mr. Moslem mortgaged the Fulton

          Street property, in order to secure a loan in the sum of $200,000.00. Mr. DeMartino alleges

         that this was done without his knowledge or consent. It is also undisputed that on June 5,

         2015, Mr. Moslem as president of both Accel and Fulton Street entered into a Mortgage,

         Security Agreement, and Assignment of Leases and Rents with Santander Bank, N.A.,

         whereby he mortgaged both the Thompson Avenue property and the Fulton Street property

         in order to secure a loan of $408,430.00. Defendants each assert that this was done without

         their knowledge and consent. It is further alleged that on June 5, 2015, Mr. Moslem as

         president of both Accel and Fulton Street entered into a Consolidation, Extension,

         Modification and Spreader Agreement and a Collateral Assignment of Leases and Rent with

         Santander Bank, N.A., whereby the Thompson Avenue and Fulton Street properties were

         mortgaged together and cross-collaterizated in order to secure a loan of $2,450,000.00.

         Defendants both assert that this was done without their knowledge and consent.




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                        This court finds that defendants have established their right to a preliminary

          injunction to preserve the status quo. It is particularly appropriate in this action, as the

          evidence presented at this juncture demonstrates defendants' likelihood of success on the

          merits regarding Smith's ownership rights in Accel. As Accel's sole asset is the Thompson

          Avenue property and as this property has been encumbered along with the Fulton Street

          property, defendants have established a balancing of the equities and the existence of

          irreparable harm in the absence of injunctive relief

                        In view of the foregoing plaintiffs' motion to vacate the notice of pendency

          filed in this action against the Thompson Avenue property, is granted. Plaintiffs' request to

          vacate the notice of pendency filed against the Fulton Street property is denied as moot, as

         there is no evidence that a notice of pendency has been filed against said property in this

         action. Defendants' cross motion for injunctive relief is granted, and the parties are directed

         to submit affidavits setting forth the amount of an appropriate unde aing.


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